Case 9:22-mj-08332-BER Document 128 Entered on FLSD Docket 09/13/2022 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         CRIMINALCASENO.;9:22-mj-8332-8ER-1
     UNITED STA TES OFAM ERICA,                                       .



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           Defendant,                                                                                            co aorxw e


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                           RULE 24(a)(1)(2)MOTION TO INTERVENE
            TheU.S.DepartmentoftheTreasurythrough theU-s.DepartmentofJustice
     and theU.S.MarshalsServicehave arrested Seized FederalSecuritiesconm ining

     sensiuvedocumentswhich aresubjecttotlw DefendantSealedSearchW arrantby
     theF.BJ.arrest Seeattached U-S.M.-285arrestwarrantundertheNationalSecurity

     Act50 U-S.C.3162.

           PursuanttoRule24(a)(1)(2)theU.S.Depar% entoftheTreasurymust
     interveneto protecttheinteresl.




     Dated 09-08-2022                       U.S.DEPARTM ENNT OF THE TREM URY
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                                  Case 9:22-mj-08332-BER Document 128 Entered on FLSD Docket 09/13/2022 Page 2 of 2
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